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               IN THE UNITED STATES COURT OF FEDERAL CLAIMS

                                         BID PROTEST

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METROIBR, JV, LLC,                        *
METROSTAR SYSTEMS, LLC,                   *
                                          *
                  Plaintiffs,             *                 No. 24-469C
                                          *                 (Senior Judge Bruggink)
      v.                                  *
                                          *
THE UNITED STATES,                        *
                                          *
                  Defendant,              *
*******************************************

   DEFENDANT’S MOTION FOR EXTENSION OF TIME TO FILE RESPONSE TO
         PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION

       Pursuant to Rule 6.1, Rule 16, and Appendix C of the Rules of the United States Court of

Federal Claims, defendant, the United States, respectfully requests a 5-day enlargement of time,

to and including September 18, 2024, within which to file our response to plaintiffs’ motion for a

preliminary injunction. The Government’s response to plaintiffs’ motion is currently due today,

September 13 2024. We have not previously requested an enlargement of time for this purpose.

       The Government requests this extension of time, because at the time the Government

agreed upon the expedited briefing schedule in this case, the Government also indicated that its

agreement to the September 13, 2024 deadline was premised upon receiving IgniteAction’s

forthcoming motion for a preliminary injunction on or before September 6, 2024. The

Government made this representation to the Court because, while the Government needs a

decision on or before September 26, 2024 to administratively process its contracting actions, the

Government is mindful that many parties are interested in this case. This includes IgniteAction,

who in IgniteAction v. United States, Fed. Cl. 24-1386, filed its motion for a preliminary

injunction at 10:10pm on September 12, 2024. Responding to both the MetroIBR and the
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IgniteAction motions for a preliminary injunction permit the Government to evaluate all

challenges to Census’ August 13, 2024 decision in a unified manner, and the Court to consider

related legal issues similarly. Such an undertaking would reduce the probability of contrary

opinions of the Court and aid judicial efficiency.

         Counsel for MetroIBR and MetroStar has represented that plaintiff does not oppose this

request but asks the Court to allow MetroIBR and MetroStar submit its reply on Tuesday,

September 23, 2024. Despite reaching out to counsel for IgniteAction today via email,

undersigned counsel has not yet received their input on the proposed schedule changes.

         In granting this extension, the United States also respectfully requests adjust the

deadlines minimally as follows:

 Event                                    Current Deadline                   Requested Deadline

 Government files its opposition to       September 13, 2024                 September 18, 2024
 Plaintiffs’ motion for a preliminary
 injunction
 Government files its opposition to       September 13, 2024                 September 18, 2024
 IgniteActions’ motion for a
 preliminary injunction
 Plaintiffs’ reply due                    September 20, 2024                 September 23, 2024*

 Oral argument                            September 26, 2024                 No change


         Good cause exists for this extension request, which is necessary to ensure that

undersigned counsel has sufficient time to finalize its response to plaintiffs’ motion and ensure a

unified response to IgniteAction’s motion for a preliminary injunction, which was filed in

IgniteAction v. United States, Fed.Cl. No. 24-1386. Indeed, because of the late filing of

IgniteAction’s motion, counsel, while completing the draft response to plaintiffs’ motion, has not

had enough time to download, review and respond to IgniteActions’ arguments in support of a


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preliminary injunction in its case (24-1386). Preparation of the Government’s response also

requires appropriate supervisory review in advance of filing.

       For these reasons, we respectfully request that the Court grant our motion for a 5-day

enlargement of time and grant our motion to further amend the scheduling order as indicated in

the table above.



                                                     Respectfully submitted,

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 Dated: September 13, 2024                          Attorneys for Defendant




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